      Case 1:21-cr-00177-CRC Document 27 Filed 05/04/21 Page 1 of 4



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA         :
                                 :
           v.                    :     1:21-cr-00177-CRC
                                 :
                                 :
DANIEL D. EGTVEDT,               :
                                 :
     Defendant.                  :

GOVERNMENT’S MOTION TO REVOKE DEFENDANT’S PRETRIAL RELEASE OR IN
           THE ALTERNATIVE FOR AN EARLY STATUS HEARING

     The United States of America, by and through the Acting

United States Attorney for the District of Columbia, hereby

moves to revoke the defendant’s release or in the alternative

for an early status hearing, prior to the scheduled date of June

3, 2021.

     Defendant Daniel D. Egtvedt has been charged by indictment

(doc. 9) with assaulting a federal law enforcement officer, in

violation of 18 U.S.C. § 111(a)(1), assaulting a D.C. law

enforcement officer assisting federal officers, also in

violation of 18 U.S.C. § 111(a)(1), interfering with a law

enforcement officer during a civil disturbance, in violation of

18 U.S.C. § 231(a)(3), and obstruction of a congressional

proceeding, in violation of 18 U.S.C. § 1512(c)(2), all of which

are felonies, along with five misdemeanors relating to

unlawfully entering, and violent and disorderly conduct within,

the United States Capitol.     He has pled not guilty.
      Case 1:21-cr-00177-CRC Document 27 Filed 05/04/21 Page 2 of 4



     The charges all relate to the defendant’s conduct on

January 6, 2021.    On the afternoon of that date, the defendant,

along with hundreds of other subjects, unlawfully entered the

Capitol and violently confronted law enforcement officers, in an

attempt to stop Congress from certifying the votes of the

Electoral College.    Which had voted on December 14, 2020, to

elect Joseph Biden as President and Kamala Harris as Vice-

President.

     Prior to his indictment the defendant was arrested on a

complaint (doc. 1) charging him with the same offenses, on

February 13, 2021.    After a hearing, the Hon. G. Michael Harvey,

M.J., ordered the defendant held without bond pending trial

(doc. 7).    Following return of the indictment the defendant

moved for release (docs. 16 & 17), which the government opposed

(doc. 18).    This Court, after a hearing, granted the motion and,

on April 15, 2021, ordered the defendant released into the high-

intensity supervision program, which includes the condition of

electronic location monitoring (doc. 23).

     Recently, the D.C. Pretrial Services Agency reported (doc.

25) that the U.S. Probation and Pretrial Services Office for the

District of Maryland, which is conducting courtesy supervision

of the defendant, has been unable to install and activate

electronic location-monitoring equipment for the defendant.

According to PSA, the “remote location” where the defendant is

                                   2
      Case 1:21-cr-00177-CRC Document 27 Filed 05/04/21 Page 3 of 4



residing--pursuant to the release order’s third-party custodian

requirement--prevents the equipment from operating.         PSA has

therefore requested that the location monitoring condition be

lifted.   As the government informally advised the Court and the

defense earlier, the government opposes PSA’s request.

     The government has been in contact with D.C. PSA and the

District of Maryland agency since D.C. PSA filed its report on

April 28.   USPO (D. Md.) Jeremy Beck earlier advised that his

agency has ordered location-monitoring equipment, from a vendor

in Colorado, that might be able to operate in the area of the

third-party custodian’s residence.      Mr. Beck advised the

government yesterday that that equipment has not yet arrived.

     In the meantime, the defendant has been on release without

electronic location monitoring for more than two weeks.

     Accordingly, the government moves the Court to revoke the

defendant’s release, pending the arrival of the new equipment

from Colorado, and its installation and testing.         Alternatively,

the government moves that the Court order a status hearing to

address whether there is another third-party custodian

available, in a less remote location, where location-monitoring

equipment currently possessed by the U.S. Probation and Pretrial

Services Agency (D. Md.) can be expected to function.




                                   3
Case 1:21-cr-00177-CRC Document 27 Filed 05/04/21 Page 4 of 4



               Respectfully submitted

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               ACTING UNITED STATES ATTORNEY
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                             4
